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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


Minnesota Voters Alliance, Andrew Cilek,                Case No. 20-cv-01688 (PJS/ECW)
Kim Crockett, Craig Anderson, Yvonne
Hundshamer, Craig Jones,

                       Plaintiffs,

         v.                                                          ORDER

Tim Walz, in his official capacity as
Governor of Minnesota, or his successor;
Steve Simon, in his official capacity as
Secretary of State of Minnesota, or his
successor, Mark V. Chapin, in his official
capacity as Hennepin County Auditor, or his
successor, Christopher A. Samuel, in his
official capacity as Ramsey County Auditor,
or his successor, Keith Ellison, in his official
capacity as Attorney General of Minnesota,
or his successor, Mike Freeman, in his
official capacity as Hennepin County
Attorney, or his successor, John Choi, in his
official capacity as Ramsey County
Attorney, or his successor,

                       Defendants.


         This case is before the Court on the Stipulation for Extension of Time to Respond

to Complaint (Dkt. 25). Having considered the Stipulation, IT IS ORDERED that

Defendants shall have until and including September 11, 2020 to file and serve their

response to the Amended Complaint.

Dated:        September 2, 2020             s/Elizabeth Cowan Wright
                                            ELIZABETH COWAN WRIGHT
                                            United States Magistrate Judge
